       Case 3:07-cv-05944-JST Document 2882 Filed 10/02/14 Page 1 of 6

                             (Stipulating Parties Listed on Signature Pages)
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 8                               UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10                                  SAN FRANCISCO DIVISION
11
12 In re: CATHODE RAY TUBE (CRT)                    MDL No. 1917
   ANTITRUST LITIGATION                             Master File No. M:07-5944-SC
13
     This Document Relates to:
14                                                  STIPULATION AND [PROPOSED]
                                                    ORDER EXTENDING THE DEADLINE
15 ALL ACTIONS                                      TO FILE MOTIONS TO COMPEL
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     STIPULATION AND [PROPOSED] ORDER EXTENDING                                    MDL No. 1917
     THE DEADLINE TO FILE MOTIONS TO COMPEL
       Case 3:07-cv-05944-JST Document 2882 Filed 10/02/14 Page 2 of 6


 1          This Stipulation and Proposed Order Extending the Deadline to File Motions to Compel
 2 between Panasonic Corporation, Panasonic Corporation of North America (“PNA”), and MT Picture
 3 Display Co., Ltd. (collectively, “Panasonic”), on the one hand, and plaintiffs Best Buy Co., Inc.,
 4 Best Buy Purchasing LLC, Best Buy Enterprise Services, Inc., Best Buy Stores, L.P., Bestbuy.com,
 5 L.L.C., and Magnolia Hi-Fi, LLC (“Best Buy”) and Direct Action Plaintiffs and the Indirect
 6 Purchaser Class Plaintiffs (collectively, “Plaintiffs”), on the other hand, is made with respect to the
 7 following facts and recitals:
 8          WHEREAS, on March 21, 2014, the Court entered a scheduling order setting the close of
 9 fact discovery for September 5, 2014. See Dkt. No. 2459;
10          WHEREAS, the deadline to file any motion to compel after the discover cut-off is
11 September 12, 2014 (L.R. 37-3);
12          WHEREAS, on August 1, 2014, defendant PNA served its First Set of Requests for
13 Admission to Best Buy;
14          WHEREAS, on September 5, 2014, Best Buy served its Responses to PNA’s First Set of
15 Requests for Admission to Best Buy and stated objections on various grounds;
16          WHEREAS, on September 11, 2014, counsel for Best Buy and PNA held a telephonic meet
17 and confer to discuss deficiencies in Best Buy responses identified by PNA and have a bona fide
18 intent to continue doing so;
19          WHEREAS, on August 1, 2014, Plaintiffs served their First Set of Requests for Admission
20 on Panasonic;
21          WHEREAS, on September 5, 2014, Panasonic served its Responses to Plaintiffs’ First Set of
22 Requests for Admission and stated objections on various grounds;
23          WHEREAS, on September 10-11, 2014, counsel for the undersigned parties held telephonic
24 meet and confers to discuss deficiencies in Panasonic’s responses identified by Plaintiffs and have a
25 bona fide intent to continue doing so;
26          WHEREAS, the undersigned parties have conferred by and through their counsel and,
27 subject to the Court’s approval, HEREBY STIPULATE AS FOLLOWS:
28          1.     Subject to the parties’ September 11, 2014 meet and confer discussion, PNA will

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     STIPULATION AND [PROPOSED] ORDER EXTENDING                                             MDL No. 1917
     THE DEADLINE TO FILE MOTIONS TO COMPEL
       Case 3:07-cv-05944-JST Document 2882 Filed 10/02/14 Page 3 of 6


 1               provide Best Buy with revised language for certain requests in PNA’s First Set of
 2               Requests for Admission to Best Buy by September 12, 2014.
 3         2.    Subject to the parties’ September 11, 2014 meet and confer discussion, Best Buy will
 4               provide PNA with revised responses to certain requests in PNA’s First Set of
 5               Requests for Admission to Best Buy by September 19, 2014.
 6         3.    The undersigned parties agree to extend the deadline for PNA to file a motion to
 7               compel relating to PNA’s First Set of Requests for Admission to Best Buy, to the
 8               extent one is deemed necessary by PNA, to September 26, 2014.
 9         4.    Subject to the parties’ September 11, 2014 meet and confer discussion, with respect
10               to Plaintiffs’ First Set of Requests for Admission to Panasonic, Plaintiffs will provide
11               Panasonic with a revised list of documents for discussion by September 18, 2014.
12         5.    Subject to the parties’ meet and confer discussion, Panasonic will review the revised
13               list for possible inclusion in a declaration or stipulation related to their authenticity
14               and business record status by October 9, 2014.
15         6.    The undersigned parties agree to extend the deadline for Plaintiffs to file a motion to
16               compel relating to the Plaintiffs’ First Set of Requests for Admission to Panasonic, to
17               the extent one is deemed necessary by Plaintiffs, to October 16, 2014.
18 PURSUANT TO STIPULATION, IT IS SO ORDERED.       ISTRIC
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20 Dated: October    2, 2014
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                                                   Hon. Samuel Conti
21                                                            AP
                                                   United States District Court Judge
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     STIPULATION AND [PROPOSED] ORDER EXTENDING                                                     MDL No. 1917
     THE DEADLINE TO FILE MOTIONS TO COMPEL
       Case 3:07-cv-05944-JST Document 2882 Filed 10/02/14 Page 4 of 6


     Date: September 12, 2014               WINSTON & STRAWN LLP
 1
 2
                                         By: /s/ Eva W. Cole
 3                                          JEFFREY L. KESSLER (pro hac vice)
                                            Email: jkessler@winston.com
 4                                          EVA W. COLE (pro hac vice)
 5                                          Email: ewcole@winston.com
                                            MOLLY M. DONOVAN (pro hac vice)
 6                                          Email: mmdonovan@winston.com
                                            ALDO A. BADINI (257086)
 7                                          Email: abadini@winston.com
                                            WINSTON & STRAWN LLP
 8                                          200 Park Avenue
 9                                          New York, New York 10166-4193
                                            Telephone: (212) 294-6700
10                                          Facsimile: (212) 294-4700

11                                          STEVEN A. REISS (pro hac vice)
                                            Email: steven.reiss@weil.com
12                                          DAVID L. YOHAI (pro hac vice)
13                                          Email: david.yohai@weil.com
                                            ADAM C. HEMLOCK (pro hac vice)
14                                          Email: adam.hemlock@weil.com
                                            WEIL, GOTSHAL & MANGES LLP
15                                          767 Fifth Avenue
                                            New York, New York 10153-0119
16
                                            Telephone: (212) 310-8000
17                                          Facsimile: (212) 310-8007

18                                          Attorneys for Defendant Panasonic Corporation of
                                            North America
19
                                            ROBINS, KAPLAN, MILLER & CIRESI L.L.P.
20
21                                       By: /s/ Laura E. Nelson
                                            Elliot S. Kaplan
22                                          K. Craig Wildfang
                                            Laura E. Nelson
23                                          ROBINS, KAPLAN, MILLER & CIRESI L.L.P.
24                                          800 LaSalle Avenue
                                            2800 LaSalle Plaza
25                                          Minneapolis, MN 55402
                                            Telephone: (612) 349-8500
26                                          Facsimile: (612) 339-4181
                                            Email: eskaplan@rkmc.com
27                                          kcwildfang@rkmc.com
28                                          lenelson@rkmc.com

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     STIPULATION AND [PROPOSED] ORDER EXTENDING                                 MDL No. 1917
     THE DEADLINE TO FILE MOTIONS TO COMPEL
       Case 3:07-cv-05944-JST Document 2882 Filed 10/02/14 Page 5 of 6


                                            Roman M. Silberfeld
 1                                          David Martinez
 2                                          Jill S. Casselman
                                            ROBINS, KAPLAN, MILLER & CIRESI L.L.P.
 3                                          2049 Century Park East, Suite 3400
                                            Los Angeles, CA 90067-3208
 4                                          Telephone: (310) 552-0130
                                            Facsimile: (310) 229-5800
 5                                          Email: rmsilberfeld@rkmc.com
 6                                          dmartinez@rkmc.com
                                            jscasselman@rkmc.com
 7
                                            Counsel For Plaintiffs Best Buy Co., Inc., Best Buy
 8                                          Purchasing LLC, Best Buy Enterprise Services,
                                            Inc., Best Buy Stores, L.P., Bestbuy.com, L.L.C.,
 9
                                            and Magnolia Hi-Fi, LLC, and on behalf of the
10                                          Direct Action Plaintiffs

11                                          BOIES, SCHILLER & FLEXNER LLP
12
                                            /s/ Philip J. Iovieno
13
                                            Philip J. Iovieno
14                                          Anne M. Nardacci
                                            BOIES, SCHILLER & FLEXNER LLP
15                                          30 South Pearl Street, 11th Floor
                                            Albany, NY 12207
16                                          Telephone: (518) 434-0600
17                                          Facsimile: (518) 434-0665
                                            Email: piovieno@bsfllp.com
18                                          Email: anardacci@bsfllp.com

19                                          William A. Isaacson
                                            BOIES, SCHILLER & FLEXNER LLP
20                                          5301 Wisconsin Ave. NW, Suite 800
21                                          Washington, D.C. 20015
                                            Telephone: (202) 237-2727
22                                          Facsimile: (202) 237-6131
                                            Email: wisaacson@bsfllp.com
23
                                            Stuart Singer
24                                          BOIES, SCHILLER & FLEXNER LLP
25                                          401 East Las Olas Blvd., Suite 1200
                                            Fort Lauderdale, FL 33301
26                                          Telephone: (954) 356-0011
                                            Facsimile: (954) 356-0022
27                                          Email: ssinger@bsfllp.com
28                                          Liaison Counsel for Direct Action Plaintiffs and
                                             5
     STIPULATION AND [PROPOSED] ORDER EXTENDING                                   MDL No. 1917
     THE DEADLINE TO FILE MOTIONS TO COMPEL
       Case 3:07-cv-05944-JST Document 2882 Filed 10/02/14 Page 6 of 6


                                                  Attorneys for Plaintiffs Electrograph Systems, Inc.,
 1                                                Electrograph Technologies, Corp., Office Depot,
 2                                                Inc., Interbond Corporation of America, P.C.
                                                  Richard & Son Long Island Corporation, MARTA
 3                                                Cooperative of America, Inc., ABC Appliance, Inc.,
                                                  and Schultze Agency Services LLC on behalf of
 4                                                Tweeter Opco, LLC and Tweeter Newco, LLC
 5                                                TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP
 6
                                                  /s/ Lauren C. Russell
 7                                                Mario N. Alioto
                                                  Lauren C. Russell
 8                                                TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP
                                                  2280 Union Street
 9                                                San Francisco, CA 94123
                                                  Telephone: (415) 563-7200
10                                                Fax: (415) 346-0679
                                                  Email: malioto@tatp.com
11                                                laurenrussell@tatp.com

12                                                Lead Counsel for the Indirect Purchaser Plaintiffs

13
14         Pursuant to Local Rule 5-1(i)(3), the filer attests that concurrence in the filing of this

15 document has been obtained from each of the above signatories.
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     STIPULATION AND [PROPOSED] ORDER EXTENDING                                          MDL No. 1917
     THE DEADLINE TO FILE MOTIONS TO COMPEL
